Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 77-10, PageID.1880 Filed 06/20/23 Page 1 of
                                      35




                        EXHIBIT I
      Case
6/19/23,       1:22-cv-00272-PLM-RMK-JTNContributions
         5:44 PM                           ECF No.        77-10,
                                                      | Michigan    PageID.1881
                                                                 Campaign               Filed
                                                                          Finance Committee    06/20/23
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     The Office of

     Secretary of State Jocelyn Benson
     SOS / Elections




                 Michigan Committee Statement
                         Contributions

        ⧈ Committee Name: MALLORY MCMORROW FOR MICHIGAN

        ⧈ Statement Type: PRE-PRIMARY CS
        ⧈ Statement Year: 2022

        ⧈ Schedule: ITEMIZED DIRECT CONTRIBUTIONS




                                                         Back to statement details

                                                    Matches 9451 - 9451 of 9451
                                                             Previous 50 matches

                                                                 Result #9451

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/527336/details/filing/contributions?schedule=1A&changes=0&page=190               1/2
      Case
6/19/23,       1:22-cv-00272-PLM-RMK-JTNContributions
         5:44 PM                           ECF No.        77-10,
                                                      | Michigan    PageID.1882
                                                                 Campaign               Filed
                                                                          Finance Committee    06/20/23
                                                                                            Search           Page 3 of
        CYRUS NAHEEDY
                                                                        35
        500 SNYDER AVE

        City State Zip
        ANN ARBOR
        MI 48103-5553

        Date
        02/21/2022

        Amount
        $1.00

        Cummul
        $16.00

                                                    Matches 9451 - 9451 of 9451
                                                             Previous 50 matches




                                                    Michigan Home Michigan SOS

                                                        © 2023 State of Michigan

                                               v2.1.4 (build 2.1.444a635ce) :: production




https://cfrsearch.nictusa.com/documents/527336/details/filing/contributions?schedule=1A&changes=0&page=190               2/2
      Case
6/19/23,       1:22-cv-00272-PLM-RMK-JTNContributions
         5:41 PM                           ECF No.        77-10,
                                                      | Michigan    PageID.1883
                                                                 Campaign               Filed
                                                                          Finance Committee    06/20/23
                                                                                            Search         Page 4 of
                                                                        35


     The Office of

     Secretary of State Jocelyn Benson
     SOS / Elections




                 Michigan Committee Statement
                         Contributions

        ⧈ Committee Name: MALLORY MCMORROW FOR MICHIGAN
        ⧈ Statement Type: POST-PRIMARY CS
        ⧈ Statement Year: 2022

        ⧈ Schedule: ITEMIZED DIRECT CONTRIBUTIONS




                                                         Back to statement details

                                                       Matches 251 - 296 of 296
                                                              Previous 50 matches

                                                                  Result #251

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6               1/32
      Case
6/19/23,       1:22-cv-00272-PLM-RMK-JTNContributions
         5:41 PM                           ECF No.        77-10,
                                                      | Michigan    PageID.1884
                                                                 Campaign               Filed
                                                                          Finance Committee    06/20/23
                                                                                            Search         Page 5 of
        CHRIS OMEARA DIETRICH
                                                                        35
        PO BOX 1379

        City State Zip
        CAMPBELL
        CA 95009-1379

        Date
        07/20/2022

        Amount
        $5.00

        Cummul
        $20.00
                                                                  Result #252

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        ED MOEHAGEN
        10 BRIDGEWATER AVE

        City State Zip
        CHIPPEWA FALLS
        WI 54729-1305

        Date
        07/20/2022

        Amount
        $5.00

        Cummul
        $20.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6               2/32
      Case
6/19/23,       1:22-cv-00272-PLM-RMK-JTNContributions
         5:41 PM                           ECF No.        77-10,
                                                      | Michigan    PageID.1885
                                                                 Campaign               Filed
                                                                          Finance Committee    06/20/23
                                                                                            Search         Page 6 of
                                                                        35
                                                                  Result #253

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        ED MOEHAGEN
        10 BRIDGEWATER AVE

        City State Zip
        CHIPPEWA FALLS
        WI 54729-1305

        Date
        08/20/2022

        Amount
        $5.00

        Cummul
        $25.00
                                                                  Result #254

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6               3/32
      Case
6/19/23,       1:22-cv-00272-PLM-RMK-JTNContributions
         5:41 PM                           ECF No.        77-10,
                                                      | Michigan    PageID.1886
                                                                 Campaign               Filed
                                                                          Finance Committee    06/20/23
                                                                                            Search         Page 7 of
        MAXINE MONDSHINE
                                                                        35
        30685 WOODGATE DR

        City State Zip
        SOUTHFIELD
        MI 48076-5387

        Date
        07/24/2022

        Amount
        $5.00

        Cummul
        $70.00
                                                                  Result #255

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        HARSHAD SHAH
        4866 MENDOTA ST

        City State Zip
        UNION CITY
        CA 94587-5554

        Date
        08/10/2022

        Amount
        $5.00

        Cummul
        $30.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6               4/32
      Case
6/19/23,       1:22-cv-00272-PLM-RMK-JTNContributions
         5:41 PM                           ECF No.        77-10,
                                                      | Michigan    PageID.1887
                                                                 Campaign               Filed
                                                                          Finance Committee    06/20/23
                                                                                            Search         Page 8 of
                                                                        35
                                                                  Result #256

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        ROB LEATHERWOOD
        1800 POST RD APT 1215

        City State Zip
        SAN MARCOS
        TX 78666-3845

        Date
        07/20/2022

        Amount
        $5.00

        Cummul
        $20.00
                                                                  Result #257

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6               5/32
      Case
6/19/23,       1:22-cv-00272-PLM-RMK-JTNContributions
         5:41 PM                           ECF No.        77-10,
                                                      | Michigan    PageID.1888
                                                                 Campaign               Filed
                                                                          Finance Committee    06/20/23
                                                                                            Search         Page 9 of
        JOSEPH RUTTER
                                                                        35
        310 W 3RD AVE

        City State Zip
        COLUMBUS
        OH 43201-3316

        Date
        08/19/2022

        Amount
        $5.00

        Cummul
        $25.00
                                                                  Result #258

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        PATRICIA O'BOYLE
        26871 SPIRAL RD

        City State Zip
        RICHLAND CENTER
        WI 53581-4404

        Date
        07/22/2022

        Amount
        $5.00

        Cummul
        $20.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6               6/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1889
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 10
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                                                                  Result #259

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        CHIA YUAN HUNG
        279 PROSPECT AVE APT 2D

        City State Zip
        BROOKLYN
        NY 11215-8425

        Date
        07/20/2022

        Amount
        $5.00

        Cummul
        $20.00
                                                                  Result #260

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             7/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1890
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 11
        DAVID ARMER
                                                                      of 35
        379 CASTLE ST

        City State Zip
        GENEVA
        NY 14456-1509

        Date
        08/20/2022

        Amount
        $5.00

        Cummul
        $25.00
                                                                  Result #261

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        CHRIS OMEARA DIETRICH
        PO BOX 1379

        City State Zip
        CAMPBELL
        CA 95009-1379

        Date
        08/20/2022

        Amount
        $5.00

        Cummul
        $25.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             8/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1891
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
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                                                                  Result #262

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        IRINA KOGEL
        405 N MAIN ST

        City State Zip
        DAVIDSON
        NC 28036-9405

        Date
        07/19/2022

        Amount
        $5.00

        Cummul
        $20.00
                                                                  Result #263

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             9/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1892
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 13
        IRINA KOGEL
                                                                      of 35
        405 N MAIN ST

        City State Zip
        DAVIDSON
        NC 28036-9405

        Date
        08/19/2022

        Amount
        $5.00

        Cummul
        $25.00
                                                                  Result #264

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        KEVIN RAINES
        934 PLUM ST APT 6

        City State Zip
        WENATCHEE
        WA 98801-2792

        Date
        07/25/2022

        Amount
        $5.00

        Cummul
        $20.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             10/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1893
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
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                                                                      of 35
                                                                  Result #265

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        ROB LEATHERWOOD
        1800 POST RD APT 1215

        City State Zip
        SAN MARCOS
        TX 78666-3845

        Date
        08/20/2022

        Amount
        $5.00

        Cummul
        $25.00
                                                                  Result #266

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             11/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1894
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 15
        VICTORIA WALDRON
                                                                      of 35
        9525 CRUMPS MILL RD

        City State Zip
        QUINTON
        VA 23141-2619

        Date
        08/21/2022

        Amount
        $5.00

        Cummul
        $25.00
                                                                  Result #267

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        LISA WASCHKA
        1409 MEDFORD DR

        City State Zip
        BEDFORD
        TX 76021-2457

        Date
        08/06/2022

        Amount
        $5.00

        Cummul
        $30.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             12/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1895
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
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                                                                  Result #268

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        KATHY MCGLYNN
        2301 SUNNYSIDE AVE

        City State Zip
        LANSING
        MI 48910-3576

        Date
        08/20/2022

        Amount
        $5.00

        Cummul
        $25.00
                                                                  Result #269

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             13/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1896
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 17
        CHERYL HARRIS
                                                                      of 35
        1660 N MOON SHADOW RD

        City State Zip
        CHINO VALLEY
        AZ 86323-4551

        Date
        07/19/2022

        Amount
        $5.00

        Cummul
        $40.00
                                                                  Result #270

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        LESLIE BAEHRE
        1678 PEPPER RIDGE DR

        City State Zip
        HASLETT
        MI 48840-8216

        Date
        07/20/2022

        Amount
        $5.00

        Cummul
        $20.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             14/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1897
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
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                                                                  Result #271

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        SARAH MOZAL
        1744 N WILTON PL

        City State Zip
        LOS ANGELES
        CA 90028-5709

        Date
        08/19/2022

        Amount
        $5.00

        Cummul
        $25.00
                                                                  Result #272

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             15/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1898
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 19
        JOE ROMO
                                                                      of 35
        149 WHITNEY AVE

        City State Zip
        MANCHESTER
        NH 03104-1572

        Date
        08/09/2022

        Amount
        $5.00

        Cummul
        $5.00
                                                                  Result #273

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        RAE GROSS
        53 PALOMA AVE APT 2

        City State Zip
        VENICE
        CA 90291-8739

        Date
        08/06/2022

        Amount
        $5.00

        Cummul
        $80.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             16/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1899
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 20
                                                                      of 35
                                                                  Result #274

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        ROBERT BECKWITH
        4400 CENTRE AVE

        City State Zip
        PITTSBURGH
        PA 15213-1455

        Date
        08/06/2022

        Amount
        $3.00

        Cummul
        $17.00
                                                                  Result #275

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             17/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1900
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 21
        SUHAIL BANISTER
                                                                      of 35
        2686 WOODINGTON CT

        City State Zip
        CANTON
        MI 48188-2625

        Date
        07/23/2022

        Amount
        $3.00

        Cummul
        $12.00
                                                                  Result #276

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        DAVID PILEWSKIE
        1823 EL PARQUE CT APT A

        City State Zip
        SAN MATEO
        CA 94403-2043

        Date
        08/19/2022

        Amount
        $3.00

        Cummul
        $15.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             18/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1901
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
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                                                                  Result #277

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        DAVID PILEWSKIE
        1823 EL PARQUE CT APT A

        City State Zip
        SAN MATEO
        CA 94403-2043

        Date
        07/19/2022

        Amount
        $3.00

        Cummul
        $12.00
                                                                  Result #278

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             19/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1902
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 23
        JOHN ROBINSON
                                                                      of 35
        650 EASTVIEW CT NE

        City State Zip
        GRAND RAPIDS
        MI 49525-3359

        Date
        08/21/2022

        Amount
        $3.00

        Cummul
        $15.00
                                                                  Result #279

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        JOHN ROBINSON
        650 EASTVIEW CT NE

        City State Zip
        GRAND RAPIDS
        MI 49525-3359

        Date
        07/21/2022

        Amount
        $3.00

        Cummul
        $12.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             20/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1903
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
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                                                                  Result #280

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        MATT BARNETT
        265 E 237TH ST # 22

        City State Zip
        BRONX
        NY 10470-2069

        Date
        08/02/2022

        Amount
        $2.50

        Cummul
        $2.50
                                                                  Result #281

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             21/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1904
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 25
        JOSEPH MAJESKE
                                                                      of 35
        100 S 4TH AVE

        City State Zip
        HIGHLAND PARK
        NJ 08904-2623

        Date
        08/21/2022

        Amount
        $2.08

        Cummul
        $8.32
                                                                  Result #282

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        DENNIS GREENIA
        4514 KESWICK RD
        HR DIRECTOR
        GREEN AMERICA

        City State Zip
        BALTIMORE
        MD 21210-2515

        Date
        08/20/2022

        Amount
        $2.08

        Cummul
https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             22/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1905
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 26
        $135.40                                                       of 35

                                                                  Result #283

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        DENNIS GREENIA
        4514 KESWICK RD
        HR DIRECTOR
        GREEN AMERICA

        City State Zip
        BALTIMORE
        MD 21210-2515

        Date
        07/20/2022

        Amount
        $2.08

        Cummul
        $108.32
                                                                  Result #284

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             23/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1906
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 27
                                                                      of 35
        Received From
        RAYA SAMET
        25960 STRATFORD PL

        City State Zip
        OAK PARK
        MI 48237-1028

        Date
        07/30/2022

        Amount
        $2.00

        Cummul
        $21.00
                                                                  Result #285

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        JACKI ELLENBERGER
        813 PHEASANT CT

        City State Zip
        HUMMELSTOWN
        PA 17036-8838

        Date
        08/20/2022

        Amount
        $2.00

        Cummul
https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             24/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1907
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 28
        $10.00                                                        of 35

                                                                  Result #286

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        RICK DUVALL
        313 S NINA PL

        City State Zip
        ANAHEIM
        CA 92804-2628

        Date
        08/16/2022

        Amount
        $2.00

        Cummul
        $2.00
                                                                  Result #287

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             25/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1908
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 29
        JOSEPH SACHTER
                                                                      of 35
        6010 FIELDSTON RD

        City State Zip
        BRONX
        NY 10471-1804

        Date
        08/19/2022

        Amount
        $2.00

        Cummul
        $13.00
                                                                  Result #288

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        PATRICIA JANENKO
        773 NW 13TH ST APT 502

        City State Zip
        GRESHAM
        OR 97030-5575

        Date
        07/26/2022

        Amount
        $2.00

        Cummul
        $8.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             26/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1909
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 30
                                                                      of 35
                                                                  Result #289

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        JOSEPH SACHTER
        6010 FIELDSTON RD

        City State Zip
        BRONX
        NY 10471-1804

        Date
        07/19/2022

        Amount
        $2.00

        Cummul
        $11.00
                                                                  Result #290

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             27/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1910
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 31
        JACKI ELLENBERGER
                                                                      of 35
        813 PHEASANT CT

        City State Zip
        HUMMELSTOWN
        PA 17036-8838

        Date
        07/20/2022

        Amount
        $2.00

        Cummul
        $8.00
                                                                  Result #291

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        JASON PELLERIN
        2328 HAISLEY DR

        City State Zip
        ANN ARBOR
        MI 48103-3404

        Date
        07/23/2022

        Amount
        $1.67

        Cummul
        $30.06

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             28/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1911
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 32
                                                                      of 35
                                                                  Result #292

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        NASTASSJA CHERNOFF
        1705 N AVENUE 55

        City State Zip
        LOS ANGELES
        CA 90042-1108

        Date
        07/24/2022

        Amount
        $1.50

        Cummul
        $7.50
                                                                  Result #293

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             29/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1912
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 33
        CYRUS NAHEEDY
                                                                      of 35
        500 SNYDER AVE

        City State Zip
        ANN ARBOR
        MI 48103-5553

        Date
        07/21/2022

        Amount
        $1.00

        Cummul
        $21.00
                                                                  Result #294

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        KARYSA KWASNIEWSKI
        2482 WICKFIELD RD

        City State Zip
        WEST BLOOMFIELD
        MI 48323-3269

        Date
        07/18/2022

        Amount
        $1.00

        Cummul
        $12.00

https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             30/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1913
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
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                                                                      of 35
                                                                  Result #295

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From
        CYRUS NAHEEDY
        500 SNYDER AVE

        City State Zip
        ANN ARBOR
        MI 48103-5553

        Date
        08/21/2022

        Amount
        $1.00

        Cummul
        $22.00
                                                                  Result #296

        Receiving Committee
        MALLORY MCMORROW FOR MICHIGAN

        Committee ID-Type
        518210 – CAN

        Schedule Type
        DIRECT

        Description

        Received From


https://cfrsearch.nictusa.com/documents/530566/details/filing/contributions?schedule=1A&changes=0&page=6             31/32
6/19/23,Case
        5:41 PM1:22-cv-00272-PLM-RMK-JTN   ECF No.
                                       Contributions      77-10,
                                                     | Michigan     PageID.1914
                                                                Campaign                Filed
                                                                         Finance Committee     06/20/23
                                                                                           Search          Page 35
        ROGER HELDER
                                                                      of 35
        1203 E PARIS AVE SE

        City State Zip
        GRAND RAPIDS
        MI 49546-6279

        Date
        07/24/2022

        Amount
        $1.00

        Cummul
        $19.00

                                                       Matches 251 - 296 of 296
                                                              Previous 50 matches




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